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AO 467 (Rev 0/09) Order RcqniTing a Defendant to Appear in tho Distuci Where Charges are Pe riding and Transferring Bail



                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                             Middle District of Alabama

                   United States of America                                    )
                                   V.                                          )       Case No. 2:17MJ217-WC
               CHUCK CONNORS PERSON                                            )
                                                                               )       Charging District:	    Southern District of New York
                              Defendani                                        )       Charging District's Case No. 1 7MAG71 18



                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

         SOUTHERN DISTRICT OF NEW YORK	                                                Courtroom No.:

                                                                                      ; Date and Time: 10/10/2017 9:00 am

         The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the court where the
charges are pending.


Date: --


                                                                            WALLACE CAPEL, JR., CHIEF U.S. MAGISTRATE JUDGE
                                                                                                        Printed name and hue
